Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 1 of 45

Exhibit H
Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 2 of 45

fobert Uh fanton
202.77 Le
chesrharGivelisey sey cana)

  

i Rivercont
tracting Step 312
aon, KY 41019-0192

 
 

VW weleyrehe com

  

 

Re:  Rorm 1023 (Asplication for Recognition uf Exemption) on behalf of
Students for Fair Acudasiona, inc, CEIN: XX-XXXXXXX}
Dear Sir or Madan:

“o

Cm behalf of Students for Pair Admissions, jac., ple se O23

 

The following ck onclasad 45 pert of Saudemte for Pair Admissions’
appliculion:

 

\, Forni |

$836 Check Payable to tbe US, Treasury

No

 

3, form 2848 (Power of Aderney and Declaration of K OPE}

 

 

4, Form 1023 (Application for Recognition of Exeroption)

Exidbit 4 ~ Articles of Lrearporation

 

 

aren

» Ty lanas

  

SFFA-Harvard 0000008
Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 3 of 45

Hae Service:

cf Oid

 

Srircrely,

  

Robert D. Benign

Enclosures

 

SFFA-Harvard 0000009
Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 4 of 45

ror 202s Checklist
December 2013)

ee for Hacogniion of Sxemuxtion andar
intemal Revenue Code

 

 

we

 

  
 

  
 

a

Ganeral insite

   

Porm TOa3 i ve

OPCS fi Ons.

OP

Oheck each box to finish vour eeoliontion (arn: 1G00) Send iis i SoMbeten Chanktet with your Mled-iry
aaolecation. Ho you have pot answered ail the flermis below. yea apoio’ on may he relurmgel iO you as
NoamMplets.

 

 

Assentale the apgdlosdion and rnatarials in this order:

% For 1023 Onecklist

* Form 2848, Pawar of Attorney and Declaration of Renres
& Form 8821, Tax information Authareetion GF find

& Expedia racuest df requesting)

® Application (For 1023 anc Schedules 4 through Hi, se require}
Articles of organization

Amendments to articles of croanmetion st chrenolac
Sylawe or ather rules of operation and arnendments
Decumantatian af narcigeriminatory policy for schools, es requiredd by acuile IS

Form 57658, Election/Heveuation of Election by an Eligible Section 501 (c)(3) Crganization To Make
Expenditures To Influence Legislation Gf fing)

® AH other attachments, ioluding expianationg, finarck
gach page with name anc EIN.

 

 

entative (if filing)

 

 

ines onder

 

 

        
  
 
 

2 ee © ©

 

  

al dala, ane] orinied melerials ar oublicetions. Label

ivi User fee PAY! nt placeci in envelane an top of ohacklist. OO NOT STAPLE or otherwise atlach your ohack o
money onder to your application. Instead, just tdace if ii Uae an

 

¢ see , . tone
kl Employer identifieation Nuraber (EN)

 

Sete. Parts i throught 2G of the anolication, insiuding any requested inforrialion anc any required

 

  
 

ations or or wih pravant us from: recoardzing

‘pt,

 
      
 
 

 

nee SE YA ee
me NING Peshow,

eb ox } = oo i be
sonedile es Yet

 

te sal bag mu ald es Foe i f
Sofedulea i  Yeeu wu Mee.

     

SFFA-Harvard 0000010
able

  
 
 
  

Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 5 of 45

 

s law

 

ature of an officer, 8, or other offigial who is auwthoriaced lo signe ihe appiiceuon,

vluye: at Pari ou of ;

   

1 Venue 2H
organizalion.

 

ie aprdicadions Quust

 

aa your leqal name as i appeara in your articles of

 

  

ae infovmabian, to:

 

Send completa Forn 1023. user les oayrnent, and ail ot
internal Revenue Service

PLO. Bax ie.

Covington, KY 41012-0792

very service, sand Forni: 1023, user lee paymard, ard atfachianks in

 

8 you are USINg express imal ar a

intemal Flevenue Servios
201 Wast Rivereenter Blyd
Atin: Extracting Stop 312
Covingtan, AY 4t014

  

SFFA-Harvard 0000011
Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 6 of 45

 

tht
oe Ee Sew
“< fs
SS hk ? ees

 

W ashing ton, DC
Operating Account

 

 

_ fe the
ier af

    

CO)

eR keg oe RORGOUe eke POOONO DO eee ee

No. 291795

   

Descriprae fate invaice Na. Aamo’ af Pavol i Haewencd es,
FORM 1023 aFE FES LG /O08 f2014 LEOB207T4 gh .50 Oe 860.00
Total 856.00

 

 

 

 
  

 

2 Ag eh t
Ue Acccunt

SFFA-Harvard 0000012
LL

Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 7 of 45

  
 
 
    

 

& ;
Sox ths Sune ;
ey

   
 
   
 
 
    
   
    
   
    

cies Be dishes
Power of Attorney
at AA

Rot aay pure

 

 

 

Raber &, Berton
Wiley Rein LLP
TIS BK Siveat NW, Washinigtort, O6 2ngo%

 

 

Braratis &. fate | PTIN
Wiley Rein LLP Telephone Nu,
1776 K Sireet MW, Wastingtor, GG 20008

Fan Na.
ane Aric
OAF Mo,
PTI :
Telephone No,
Pax Na,

    
 
 
 

 

 

 

 

 

       
  
  
 
 
  
  

    

iting fora tive by 4ay ;
3 Ante authorized) iyou are required ty corapdnde this line 3)
my confidestial tax information and te perforn acts {
ve Gee authioniiv 2 si

   

 
  

 

 

oF

  
 

  

 

ppligatile} a IngdPus

   

    

avian: F

» Seedic tse Not Renard os

 

 

 

SFFA-Harvard 0000013
 

 

 

   
 

    

      
  

EP a $Y

ote OF

 

 

 

 

 

        

    
 

 

and Pu

Gxt
SHAS

POE PTE? 25.

 

 

 

   

 

 

  

SFFA-Harvard 0000014
Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 9 of 45

 
 

(3G)

  
  

 

fon cof Exanie
internal Revenue Code

   

 

 

    
   

 
 

Par souinty, and ZIP + 4.

 

 

uf ‘represpoiaive

 

i Phare: abe £78 7182

    
  
  
 
  

 

08-7 74 9.7045,

     

@, GLICO 45 34 1 attor ‘

       
 

 
  

 
 

 

  

name, ana the name and addr
de 2 Aad, Bowens at At tenn
Flepre: eittative, with YOuMe ax ort Pceul would tike us to eornrn
é persan whee i) Of One cf yous officer TUSteSs, emplo

    

     

7

a
2 2

in fine 7, pad, ar promised payrnent, lo help ¢
atructure of activities of you rqanization, > abet your financial
provide the nersan’s pave | a AMS ae acres af the person's fir, the aniour
promigad iG 3 role,

 

Prats ra) ie "eS, 3,
id oF

 

   

 

   

 

fa Croarizadan’s website: N/A,

 

 

 

Li Yee

 

 
 
 

eye

, ow Fore

 

yeasty?

 

 

   

Asante,

SFFA-Harvard 0000015
Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 10 of 45

 

ae YOu 8 trust? : Ve
and ‘ee cones

 

 

 

 

: follow OM SNS

Th

to meet ihe

 

iS a aprijeation andl you have = mended Your oe ganiting d doo sament Submit your
rponation or an LLC) with your snpileation.

 

 

hat your soni deournent staie your exenint purpose(s}, such as charitabia, vi
ior Sole ntific purposes. Cheek the box to contin thal your carat ming cloguireeri!

cay where your ory ganizing S68 Orne vin ‘ remeri, such esi

cart Wzing Ges inne for exert

, Article, and Pa Pa 2 o "ar iola &

4 Section S SOC) require ys
relight, educatic ant
OS th HS Pex!

 
 
  

 
   
      
   
   

ragt api i}

   

 

ibe used exotusively
nok the box on line a

 
  
 
  
  
    

       
  

 

luce stor ‘al,

 

oof your Gi
“Pages Eek, AR

  

 
 
  

 

20. you a
for Biowmhation about tne 6:
YD Ope ort Of state law for your dh
Negretive Descrinton of Your Activiles

Don

     

  

 

articular

ste

 
   

lution: orovisht

         

 

   

 
 

herent, co

 

pacts baits 8 at é the
: suppalting

   
 

  

af supp
Ten?

 

 
 
   

 

 

Trisslaed,

    

 

 

SFFA-Harvard 0000016
Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 11 of 45

    
  

  
 

tadarisg for Pair dabnisst
lors ancl Dhar Pinarcdal Arisane
ard eee ey sntrouters (

 

  

 
 
    
       
 

 

 

 

None

   

 

 
  

a a nalnss of é busi
wil receive corays
infommatian ap whe

avallabie.

  

 

 

       

         

 

 

 

 

 

 

 

 

dsm Be
Nang Py aes, s

 

 

   

 

  
     

    
  

  

a
Hosp redarh aot

 
 

nd, OF agreaments with 0!

flowing Ye
ae actors i sted fit lines

store $, th

        
 
 

 

3 wilh any of your officers
YHcer, Gisactor, of tru iS
seach at your officers, director

  
     

     

‘“

   

 

 

 

Adi

"| SFFA-Harvard 0000017
wt

Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 12 of 45

 

23,” provide a copy af the po
ooluti DA not YOu ting Ocak | *

      
   
  
 
  

 

that parsana who have a conflict of i
satting thelr ove compensation?

that
s deat, with

by What proced
intuence

 

   

 

ange who have a cant: of terest wil mot have

thamnselves?

a Whe:
infieance aver

Notes & cor

  
 

nde though itis nc required to obteir exenyaion.

  

policy 12 recodyng

 

     
    
    

 

       
   
 
  

       

 
       
    
 
 
     

  
 

Habs, 245, Section |, tne 14.
ae Do you ar will you compentate any ol your o 1 camipensaied employe
and highest cormpengated Independe ihrough acnrefixedt
cmary banusea ai ibe all rraretl
i how t
kation ort total
eneols COnips
raation op whet dor hes

 

Fl esl THE sngation of more {har

Fibs Seiad Bp sret Nees Ons of peavaniieesent

ali aan: Hixed compensation afandements, inchicing: huw ihe ariounts

win Be — iar SUBA arhangemertis, whether yOu tabace: er will
i fou deterrine Gr will determine thea you p:

Refer te the inetructions for Part V, lines

ipersaticn,

  
  
   
  
  
  
   
  
 
 
    
   
    

 
 
  

  

   

    
 
  
 
 
  
 
 

 

fr asaets for ers al your officers
ov highest compandiied independant contractors
Pek ourchase that you made or intend to rakes. fran
apa, heey (he terivis are or will be neqotia i
ine or wii ceterviing that vou pay no mare
NVWacts of other ag nents eolating SH ict purchases.

 

  

     

 
 

  

 

 

aNe ¥

  
  

 

    

are » neolals
ix will be pale at least fair mar
i « aetlt

 

 

SFFA-Harvard 0000018

 

 

 

 

(i No

 

 

kp

 

 

bee
Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 13 of 45

  
      

  

APY Wee

 

&, barra. OF

      
     
  
  

- trdivudieals

 

 

   

b In ce arryiny oul your axon pus

 

    
      
    
   
     
     
   
   
   
  

 
 
  
 

jdividhial o7
provided

& pro
at For exaray
on ¥ for a particuk ad, your it
raduates af a sarticular schoal. lf °Y

each programm.

 

 
     

 

3 bo any individu: & who receive OO
rekjoniship with ny of
a8 OF ae ee wel

 

 

   

  
 
  

 

es 1a, ib, ane! lo?

furs,

 

 

ee History
EYes" or No”

3 A RUCKEGAOL 1G ano ner orga Za
ies af another orgari

 

 

 

i i You have t aken 6 Ory welll | AKG OVEH
cH ure rynarket value a tie hes
on af &

     
   
 
 
   

 

¥e6

   

     

  

 

 

 

 

 

wae = Spectio Agtivities:

oe SH
math ¢ vartail

 

 

 

Mest} seek the

       

 

 

   

6 in policed campalares iy any way? i Yes,” explain,
2a ofiuece: fag
be il Yee No

 

 

 

 

SFFA-Harvard 0000019
Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 14 of 45

 

  

al ft
pec i a whether y > far your ow
7 OPGan ization fundraise {or yOu,

  
 
   
    
 

   

   

   

   

  
 
 
 
   

 
  

    
    
 
 
        

   

    

 

 

e Do you or will you raaintain separate accounts for any corte butor urider which the
the right ia acivise on the use or iste a a Answer “Yes: &
on the types of investrianis, cist of invest? ei thon dram the:
rbution F count If “eg,” 2 mMuding type of advice that may
: b Gurore
io
Ga D0 Qa wi exenondn cave ape? i “Yer, Me YOu peor
& who Gea s from your gsonamic deve ant activities and haw the activities

   

& axenipt purpoges,

     

or WiR persmns otf 1 your ernployees a YH
: eg the role of the slopar, and any dusiness of

your ernployee:
‘ sep ane! no the t
2 youir offic

 

car faraly rekalianship kes
antify the indivis
th am thal yeu ¢

 

SFFA-Harvard 0000020
Lu

  
 
 

78a Go you or wH yau ?
1

 

Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 15 of 45

: royalt ie

 

    
 

 
 

 

4 a ia owill you oneraie in a foreign Gauniry oF sc
Tad ]f "No," gp to fine faa.
2 the forelse & counties and recions w
counvy and
ions in ash ocuntey

 

   

B Coun

oe erin
JER Ww

      

     
   

     
  
   
 
 

   

SEY ir LOY

 

fw yo

 

 

a through iSq. if “ho,”
further your examat purposes,

 

 

b Describe how your grants, loatia or other cistrih Oo OTyANe
s Do you have written cociracts with each of these organizations? & “Yes? attach ¢ copy of each calitract.
a identify each racipient organization and any ralationshin hotoveen you ori the reciobent organizatior
= Deseribe the racotds you keep with reseect to ihe grants, loans, ar © TELEIONS you iake.
toe your selection process, ineluding whether you co ary of the ifowing:

fi} Do you requir an application am if “Yes,” attach a copy of the form.

{8} Geo you recquins a qraril t Se * ge j ella the grant proposal spe \
resoonsiblilies xi these of the GF siti m, obligates: nies to use ie grant funds only tor the
purposes for whieh the grant was made, provides fo iodic written reparts Concerning the use
of qrant funds, raquires a final written repert and an accounting of how grant furs wate used
and acknawleciges your gulhorkty ia withhald and/or racovar grant funds in cease such funcs
or appear to oe, friisused,

Jures for ove

 

 

    

    

   

    

 
    
  
  
 

     

 
       

   
  

   

   

ght of distributians thet assure you fae TBEOUTORS Gre used? to

    
 

      
 

  
       

g Describe your proce
furtne s af ExEmMpl Gurpases, including whether you require pe ports on the use of
resauree’

 

 

 
     

  

ig} Wo

 

 

Die you Of will you make grants, loans, or other distribution a toraien organizations a? if "Yes,
anawer fines 14b tmrough T4i if “Ne,” ga to firs 18.

   
 

 
  
 

a Gouritry in wrdeh
hoagach foreign

   
 
 

vide the name of each foreian argenization, the country and reqions wit
h foreign organization operates, and desaoribe any relationship yuu have +
organization.

 

 

OP} Hakect Mine T4b accent con Hic CouUrery

“Gist a es agian orgari

   

 

  
  

ie fe vou at your
odie how vou cedey this

    
  

: WK BK aI
rowhich thie res oe YS

 

Ci ¥ea

Ha

 

 

Na

rl Me

 

 

 

 

 

SFFA-Harvard 0000021
Lili_____.

Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 16 of 45

 

 
  
     
    
      
 
 

Yeu,” explalr

 

 

ital service organizatinn :

     

 

Beryvied Srgands.

     

  

ablos OF ope

 

Are You enpiying for &
arganizations under section bug
18 Are you applying for

    

 

 

 

32 De you or wil
Oparnte acs

  
  
   
 

 

chedule

ey? if

 
 
     

   
    
 
  

    

rwill you p
mlucing cir

SOPOT

 

pai, iailowships, aducaliorial in Q
yte for travel, study, ar ather similer ourposes? if “Yes,” complete

  

inelivichwa
Sehecdule H,
Note: Silvata fcundatkews may wise Sci
procech,

 

 

vig H te request advance approve! ai iadividual grant

  
 

 

 

 

SFFA-Harvard 0000022
Lgl WS

Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 17 of 45

 

 

 
    
   
 
 

re yaars, compet
< nie rele the slate
c

   

    
  
   
 
 

Pyotr likely revents
iiete of your future

 

 

Tyg at poveruis or 2%

 

vide Tots for
couah fj

 

 

rans, and
contiguions rece

 

ad (da ned

 

 

   

  

 

 

i slude unus ual grants) S58 O00
f Memnbershin fess rec palved OG
3 Gross Investment income bo an a

 

 
     

4 Nel unre rl ousinies
ingame td

& Taxes levied for Scour be te

 

 

 

 

 

    

Jalue of services or facilities
Aunished by a governmental
uni withoul charge (not

 

 

     

 

  

% including the value of services
8 generally furnished to the
S|. publle without charge) 2 nmr 6
if Any revenue not otherwise
sc] above or in lines 9-12
oe jatiach an itemized fist) i a

 

 

  
 
  

 

 

 

    

 

 

 

   

 

 

    
    

 

   

 

ft through 7 780,008! HSNO, 8
9 pits from admissi
ree Hse SOlG OF servic
performed, er furnishing of
ies in any activity | thal k
ralated to you if exenipt
_ purpases: faltach liemizeri ist) do es oe ee g
40 Total of lines 8 and 8 ho 806,000 = 750, G00) 750,008
a Mei galn or toss or sete: oF
oapliaé aasets (atte ;
schedule and see instructions} u a & i
12. Unusual grants os vee osseuennnnnrnld ose ES etcntitni &
iS v

ota Reverie

      
     
  

FOE cscs
2

 

 

 

 

 

 

 

 

725,000

 

 

 

 

 

 

SFFA-Harvard 0000023
Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 18 of 45

     
  

     
   
  
 

P Other &

 

30 aE h art

 

 

fdhrougn a,

histiies Gn ccrP conte neevevcenior 2a

 

nits per
FORM FOWHS,

: ats. > paya a
Maorigag

      

 

 

 
   

ities (add fin 2 ¢ . 4 : ;
road Balanogs or Net Astiats ;

 

 

 

  
  

 

Ber ary ‘subs stanti ang z Yeu le] Me
27 ff “Yas,” explain. . . Ce
Public Chari “ily Stet eet i cteeecnpppe i tctpanannn i
; ssity you a3 AD izati | a e charity Pubiie. chairky ofatus

3 thar privy te x is deslenad fc r
r VOU Z are 24 private operating fou poor, iSee

  
 
  

 

 

  

 

vunidation? Was
gee the instructions,

   

4 ts oe See ihe inetuictiads,
i need io be canted in you

 

 

 

POR CV:

 

 

 

SFFA-Harvard 0000024
Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 19 of 45

 

    
 
  
 
  

  

asivergity that be cA

 

ho SOA(SHE)
inves Frmont inom a

fees, B00

sure if hia

 
 
 
 

 

 

   
    
       
 
 
 
    
  

  

 
       

     
  
  
  
  

         
 
   

    
   

 

   
  

          

   

    

 

 

 

 

 

  
 

 

8
ECAT a,
& Request for Advance Audie BER eae to aaa B45 sOvCH of
af ie Gade you request at advances 2 ams on the as a ey
olse bax under sectian 4240 of it
at the and of the S-year aclvance raul
years to 8 years, 4 months, and 15
isin soe OR rnudiuedly a iodd of time of Ismay gy the Tax
! ict dangiion <i y af the ofmices
you : You may obtain Mee at wan. irsgov or by calling
toll-free 1-800-829-s sant wiil ner ive: YOLE O push rohis to which you would
otherwise be erditlecd io extend the o , you are not ble for an acivancs
Fling.
eswent Siang Rerbs! af Liredtetiaus Ups Assaosmeant af Te BK «Lind or Sention 4940 of the imernad Ravens Gcale
For Organization:
(Cate
you
(te Hare

 

 

tt

SFFA-Harvard 0000025
Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 20 of 45

 

 

 

SFFA-Harvard 0000026
Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 21 of 45

  
 

$O25-. Ey hinit A
: esis Jer Pair Adapissigns, ine.
SEN: A) PSBSR1D

cMi, Lane i

  

ARVICOULNS OF UNCEINSPORATIOIN

PAtLac ed }

SFFA-Harvard 0000027
Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 22 of 45

   

STUDENTS FO BA iM ALHUSNIL

The andersigned, pursuant te the Virginie Norstockh Carparaion Aci dhe “Act, beroby
sudes an follows:

1 The pame of the corporation is Students dor Paice Admissions, Inc. (he
“Corparancar }.

2. The Corporation shall have no members,
3, The initial directors of the Board of Directors of the Corporaiion shall be

appoited by abe sale inc COFPOFALON, All other directors shall be elected by an affirmative vette of
a majority of the directors then in office, and each shall continue in office for the term specified
in the Bylaws of the Corporation and unlll such director's successor is elected and qualified, or
anil such director's earlier death, resignation, or removal.

4. The name of the initial registered agent of the Corporation is National Corporaic
Research, Lid. The rmgistered agent is a demestie or foreign stock or nonsteck corporation,
liniied Hability company, or registered Umpited Hability partnerstap authorized fo transact
business in Virginia.

> The Corporadon’s initial regivtered office address. which is xlemical to the
business office of ihe initial regisiered agent, x: 250 Browns HM Court, Miilahign,
Virginia, 23114. The registered alfice is kiwated in the coumy of Chastorfield.

&, The Corporation is organized and shall be operated axclusivety for chantable,
rtligions, scientific. lterary, educational and oukcr purposes within the meaning of Section
50103) of the Internal Revenue Code of 1986, ag sew in affec: or a¢ hercafice may be amended
{the “Code"}. The purposes for which the Corporation is formed are ie defend human and civil

eughis secured Oy Tes, including the right of Individuals to equal protection under the Jaw,
rough lnigaligs and any iaher — MCAS, ane iO cagaue in anv jowdal act or activity for
3 SIE ee SPICE so the Corporanion
at the oe

    
    

 

   
 

£

   
  
 

    

‘she powers af £ she f by ihe

 

SFFA-Harvard 0000028
ato

Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 23 of 45

 

agk o3eks wete
G RCT als OF

   
 
 
    

yuod under the Act fi activities would aot
fran obtaining aad reiainiug exemption fore federal inccrne
tarnntins nas a corperatian doserthed in Secon SOKCH 3) af Ue Code
i, ‘do pari of the aut carsiags of the Carparauen shall lners ui the benelit of.
ay be distriiatable io. iis sembers, offleers, direcuars, or other private individuals, except
that the. Corporation shall be authorized and empowored to pay reasonable componsation
for services rendured ta or fox the Corporation and ta make payments and distributions fy
furtherance of the purpises set forth in Anicle 4 boreal;

  
 

 

“,

 
 

oa

  

gq. No substantial pari of the activities of the Corpewation shall be the carrying
aon of propaganda, or otherwise allempting to intleence legislation, and the Corporation
shall sot participate or intervene in dinchuding the publication or disteibution af
giaiemenis concerning) any political campaign an behalf of, ar in Oppos silon io, any
candidate for public office. Notwithstanding any other provision ef these Articles of
Incorporation, ihe Corporation shall not, except to an insubstanial degrees, engage im any
astivilies or exerclae any powers thet are not in furtherance of the purposes of the
Corporation; and

th, in the event Gf dissolution of Hinal liquidation of due Corparation, the
romaining asadis of Ui: Corporadon shadl be distributed for one or mare exempt purpeacs
within the awaning uf section 501(0K3) of the Cade ar shall be distributed ta the federal
goverament, ar to a state or local government, for a public purpose. Any such agseta not
so disposnd of shall he disposed af by a ceurt of competent purisdiction of the county ih
which the principal office of the Corporailon is ihen locried, exelasively for such
puNpSes OF is such organization or organizations, a3 the court shall determine, that are
arganized and operaied exclusively fiv auch purpeses.

 

B Yo the fullest extem pormitied by the Aci no officer or director of the
Corporation shail be personally Hable fur damages in any procs seding a an by or in the right
of the Corporation, or in connection with any claim, action, sult, or proceeding to which he or
she raay be or is made a party by reason of fring or having bern an od offic cer or director of the
ese yee at hea,

IQ. Vise ie orporation RUSESVES ; the right lo arnend or rope:

    
 
 

these Aytales of ince

ferred upon

  

be
he qigmmer now or fe

  

 

 

 

SFFA-Harvard 0000029
a Lda

Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 24 of 45

SATION

 
 

7
a

STUDENTS POR FAIR ADMISSIONS, INC,

ih) WETNESS WHEREOP, the undersigned has oxecuted thoze Ariivies of licorpaation
ag ofthe date set forth above.

   

caien NAN Cigas inlet i

ne pvt
Cg Pe
Robert (7 Beatan
sade Incorporatar

c A
i & : json

SFFA-Harvard 0000030
ode

Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 25 of 45

 

I Certify the Following from the Records of the Commusston:

The foregoing is a tue copy of all documents constituling the charter of Students for Fair
Adrnissions, tne. an file in the Ciork's Cifica af the Commission,

Nothing mare js hereby certified.

 

SFFA-Harvard 0000031
tu

Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 26 of 45

 

Srare GoRPORATION GOMMISSION

Richmond, July 30, 2014
‘This is to certify that the certificate of incorporation of
Students for Fair Admissions, inc.
was this day issued and admitted to record in this office and that
the said corporation is authorized to transact its business subject

to all Virginia laws applicable to the corporation and its business.
Effective date: July 30, 2014

ee BE State Corporation Commission

i GORE Loe Whassup
ays se eae Tee vs ELeAaL,
1 VES eek ALR bh.

5 ce Clerk af ihe ea ISSE

       

SFFA-Harvard 0000032
Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 27 of 45

 

Pari li, Lane S
BYLAWS

fatuched)

SFFA-Harvard 0000033
Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 28 of 45

 

 

ARTICLE 3

Nene aad docction

y Adrmasions, Inc.

 

‘Vhe name of the corporation is Student

   
 

 

Section | A

ali be forated at 109
ed by the Board of

   

The principal offi ‘the Corporation
ria, Virginia 22314, or aft any other place approy

 

   

Pureciars.

Sectinn 1.03 Registered Office and Aecnt The Corporadan shall contiouaisly
i registered office and agent within the Commonweal of Virginia : hy place as
lak by the Board of Directors. The Corporaiion’s initial y Mice and
forth mi the Articles of Incorporation.

 

    

Rh G

inane

  
 
 
 

   

ARTICLE H

Purposes

sation is orguuved and shall be operated exehasively for ch:
oal and other parposes within the picening at Seely &
nla Gaa as ae i i

 

SFFA-Harvard 0000034
Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 29 of 45

 

Section 4.074

shal} be managed by

 

  
 
 
  
   

 
 

§ “x of direc
feqver than Te (33, But so more than five (5) and may be mere
lime by action al i

Sechon 4.03
consist of those ae direct
shall s ZOSSORS ATE
at any annual meeting of ie Board of Direc OTS ty
directors shall co

qualified ang { auntial meeting, determines that there is to be no
such inimedialz: suceessnn)e or utd fie death, resignation, or removal, The tenure of
picumrbest i P Directora shali pot be affected by an increase or decrease in
the number of ¢

sorator dated July 30, 2044 and
cafter, directors shall be elected
no affirmative vole of a majority of the
> EL g ber successor is elected or

       
  
      
   
 

  

    
  
 

 
  

 

 

 

 
   

ECLlars,

 

4.04 Vacamnes and Newly-reaicd Directorships. Vacancies and newly-
creaied directors ships, resul from any Increase in the authorized muNIber of dirgetors. may be
filled SA a iio vote of tthe dis ectors then in office + alin i les ‘

 

 

 

    
  
   
  

Away Girecian
Voy Seay fier Te

- PHATOBES, if Be ¥ 5.

  
 

   

sdbondy af a moct!

eas ¥ to i fhe {

 

SFFA-Harvard 0000035
a -Lé

Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 30 of 45

Ast anol

 
 
 

 

 
  

Dinewt0ns fos i ; Bare Oys RAG Gyectar

 

   
  
 
 
   
 
 
 

majority
to all di

   

a 7 -

Prectors may
Natice af all sy
ymatiers to be adkdre
wil nate

  

 
    

 

Oy

 

Directo: for apeci ay Tmectiergs.

“Jon 4.09 Informal Acton by the Board of Dhrecturs. Les otherwise te sairictedl by
sles oF Incorpo: 2 Byla WS Lary aClion reqn
Siyay be tuken without a mecting if all dircorots ¢ &

 
 

 

    

the Arik
Board of Direc

    

    

 

      

weit and the y plis
J iucluding a sig red email message trom the applicable director.

hf0 Meetints by Conierenve Js dephone. Any one or more members of the

Board of Purectors may participate in a mee i

 

 

s of such Board of Directors ty muwans of
guntorence telephone or sixalar cpmtheniontians equipment by means of velich all persons
participating in the rocetiag can conumunicate with one anuther Participation in a mesting ty
anch means shall constitute presence in person at the meeting.

 

 

  
 

compensation to directors for s
aaises Mmeurrod in the performance

approved by a majoricy of the entire B

 

jond ii Compensation of Directors fay nol pay are
sorvicgs reaulered, oxcert that athe eotore may y be reimbursed for
of theirs dades to the C sonable snouts as
d of Directors.

        

 
     

 

 

ARTICLA ¥

Cnepnifess

card oF UNrovtors may cre

rue ont dhe

  

SFFA-Harvard 0000036
2 LL

 

Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 31 of 45

 
  
 

 
  
 
 
 

veorclury. aad | , and Wo may, “if iE
Prosidauts, Assistant Searariza, Assistant Freasuirers
i j sey

4

 

ior allermnate tues as ib cons:
yone office in the Corporation.

 

 

 
 
      
 

Seetion & ee, Vacancies and Removal.
for the torm fer which lie or she is clocicd or appototed aud until iso or 7 ere
appointed and qualified, or anti his or ber earlier death, resignation or romey “al
shall be elected or appointed at the annual meeting of the Board of Directors, oxce oti in the cz
of initial officers and vacancies resulting from any resignation or removal, which may be filied
hy the Board of Directors as needed. An officer appainied or elected ta Till a vacancy shall hold
ok ice for the unexpired term of his or her ps j , oud untill pis or her

elected and ¢ “Prectors with or without
CAUSE Ut

fy

 

         
 
 

       

¥

 

 

 

CORB OL iS

 

 

gaaiified. Amy afficer may he removed by the Bowral 0

v

 

  

 
 
   

 

w written notice:
resignation shall be

 

Neon 4, O3 3 i ast Arty Q)
to the Corporation, Unless otherwise specif

4

effective upon delivery to ihe Corporation,

 

    

Section 6.04 Powers and Duties of Officers Subject i¢ the coniel of the Board of
| all officers a eon themacives and the Spon eal have such authority and
per form ‘sah duties in tbe management of tha Corporation as e provided by the Board of
Directors and, ia the extent not sc provided, as ge -nenally peertany ir respective offices,

 

 

   

  
   
  
  

 

   
 
 

 

 

aide cyt shall serve as the clicf excouti
sal ail eS of the Board of PXrectocs.

i all of the affairs of the Corporati ot and overses the manay
rata in accordance with and SUSIE 4 appraved by
eotors a, ine hiding appealing ass

ref the Corporation and

UW supervise and
ment of the
ihe Board
y fo emsere

      
   

      
  

     

SUPA Le vie
2262

QO APY 1G

 

SFFA-Harvard 0000037
+ Eke

Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 32 of 45

   

comple yc i

Board of Direct ors, The Bo:
or withoal cause. Removal wit thew CAUSE
ts. 1f any, ¢

aaa

:

=.

*

oO -
&
~
BS
FB.
ms
ae
nae
a
=

Li

   

% r

Agents gad Emuoavees, The Cx orpor Hor may

 

   

Soutios :

pay compensation to officers for services rend fe the C “poration i ted capachy aS
officers, and ofGicers may be reimbursed for expenses incurred in the performance of ther duties
fo the Corporation, in reasonable anrounts as approved by a majority of the entire Board of
Pirectors. The Corporation may pay compensation in reascnalle amounis to agers and
Saplavees for services rendered, such amounts ta 7 fixed by the Beard of Tirectors or, if the
Board of Dhrectors delegates power to any offi ont eOrs, then by sack officer or officers,
The Board of Directors may require officers, agents or emiplayers te give semurity for the fauthtul
performative of ther cuties.

     

      

   

ARVICLE Vil

Miscellanea

 
 
  
 

Section 7.0}

The fiscal year of the Corpovation shall be the calendar year
or such other period as ma not

ixed by the Board of BL

 

   

Section 7.12 The corporate seal, WY any, shall be cireclar im foma, shall
have the tame o f the Cane

tion iserthed thereon and shall contain the words oe aie Seal”
and “Virginia” and the year the Corporation was formed in ihe center. or shail be in such form as

<

taay be approved from dime to time by the Board of Directors,

 
   
  
  

an i

   
  

 

shal

   

alt tor & A) y sige ay
28, OT other evEdences of
HTS and

LANES,

    

SFFA-Harvard 0000038
Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 33 of 45

  
      

plan or ue
ey Gmplasyee, OF
div incarred hy him or he
i, OF pracee
sdudigg

 
  
    
 
 
   

     
     

es, and may
BINS? ANY and “all axe
sed an fdra ar her in cou ection
‘ll, criminal, sdasini

a party by season rae bas ing or haying been such director, officer,

it; Subject to the limtiation, however, that there shall be no indeamificaiion in
unless such persom: C1) conducied Ainiself or herself in good faith:
(2) believed in the ¢ of conduct in his or her official capacity with the Corporation that his or
bers conduct waa in the best iuterest of the Carporauan: and in all other cases that his or her
conduct was al least not opposed to the best mtere ihe Corporation; or G) in the case of any
criminal proceeding, he or she had no reasonable cause to believe that al

sactuadky and ree:
2 aN¥ ¢ Seu, i

         

   
 

   
    
  

    

rals} to which

       
  

 

 
  

 
 
  

      
 

 

  

SES ¢

 

        

his ar her conduct was
udiawhel Farther, there shall be no indemnification in conmecion with a procesding (A} by orm
the right of the Corporation in which the direcior, officer, omplayer or agent was pi adged | able to

the Corporation, or (BR) in which improper personal benefit is char

 

   
   

we

 

  
 

    

molly a

     

3 Corporation Sail K pon ore fer of a court of com pe Wt furigdiction inde
i which be or she was a party
eo ais uses Ucurred by

   
   

proceeds g.

 

hive or her in  onnecifon y "th he

Aros paid to indemnificauion of axne
liraited to, caunsel foos and other fees; ¢
ast, ad arutmts paid in settlement by. such d
Corporation may pay for or reunbu arcaaopeb le
the proceeding 3

  
  
  

 
    

  

The
& | dispnsition of
Aol are met.

 

      
   

SFFA-Harvard 0000039
tt

Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 34 of 45

  
    
   

 
 
 
     

2 Corporauivn may i
volun of the directors thon in office and epon the taking of amy other actions require
Act Pay the Corporation, all of dhe romanan, £3
of the Corporation shall, after paying or making provision for the payment of all of the [ts 8
and obligations of the Corparation and for na 7 experses thoreol, be dstibuted as.
determined by the Board of Directors in accordance w 8 of Incorporation and
applicable law,

      
   

  

   

  

SFFA-Harvard 0000040
Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 35 of 45

we Ries hots € Peaeanelten ori the ba
See Rom, Rul. 20-278, 1960-2 OLB. 175,

 

  

Students for Fair Adntissions is a coalition of prospeetive applicants aud applicar
ON fastleutiog ua wie were “eves aéavisgion to 0 bigh war education, mostitutians, their
ah “s parpose and mission of
seri iss An independent and

EN PRAIENCEL xe hoard of directors ¢ eoveniis "Studenta fi for - ait AuitiasTag: The organization’ s
mentbers de not have any voung rights in governance matt

 

      
  
 

 
 

 

   

     

  
   
 

Students for Fair Adiissions duss aat he
provide jogal representation to tis miexabers or other:
privaie attorneys to represent it in bringing and maintals
blow, the Eype of {tation that Studen Adri

  
  

 
    
     
     

ation wil] enmpla
gation. As de:

  

    

   

carneys to represent the 0

 

g dec a ns about tigation straivgy

   

rot have de
i bore.

   

in addition. Students for Pair Admissions does

¢ directors and officers perform their work fro
iscreuien to delermaine how anc

or addiional information about ha

office space,
rectors has the

        
  
 

 

 
 

unded,

racangs for Paly Adaviszions’

 

SFFA-Harvard 0000041
aot Le

Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 36 of 45

 

dion is chariieble:

 
 
   

 

(23 the act a
stablished
reatrielions: and

 

anid €

   

(4)
exenipt
of that a POSC,

 

clained below, Students for Fair Admissions satisfies this throv-yart tsi,

 

ASULY Rogulation LOHe (2} provides that “defen

secured by law’ is a charitable “FH Juman and civil righ his socared br

include en) provided not only by the Ce saslindion of the United States, but alsa by fede oral
Met ‘Tt Right to opi! Les al ne ee gine & Hauc, Foundadon, 487 ¥. Supp, 80) CED.
~plaintd? ti uation, watch “ a pens on

        
   
     

 

    

 

  
 
  
   

ection Chaus

   

i ; a] lo any persion wi

ran af the flaws.” >. Const & ALY, & 1. The Supreme

WY Chayse Se ae ta higher edacation admissions policies and

. 306 GUS (A core eee pose of ihe

amie away wi ith alg govermmentally imposed discrinduation based

s rally a of Ais or her race,
ae and soit of the

        
 

 

 

 

PYGCAULSS,
Bourt

   

 

  

SFFA-Harvard 0000042
Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 37 of 45

 

 
 

BR. Sinderis for Paty Admissions’ Activities are Nar Ui ;
Clearly Befred and Established Pulblic Policy, ur ia Crs
Statutery Restyicloas.

   
 

ro Ht Ulegal nar comteary aa parhlic policy or amy IBC

is, BO-278, 73-285,

 

i MeHION a

See Rev, Ru

 
   

oo Stulonts for Falr duimissions’ Activities Further ifs Baemyt Purpose and
Reasonatiy Relate io the Accomplishment af that Purpose,

vy. ibe institution of Ltig
ag 0 ot eens
u highe

 
 

  
   

Students for Pair Admissions’ ae act
olainiff, is an offective t :
public’s right to be free

Congress has provided

    
    
    

  
  
   
  

     

raf ALON 10 ey engi
and an tmiplied

 
       
  
  

 
  
  

Vi! Bee » Alexander v, Sadovel, §
Approves £ of sy litigg

     
  

ble and AP PEO] 2 the

is sigtutes. me vy Ra, ae

    
 

uER, Silents fur Fair Admisaiona’ Party-Plainti? Litigation Servce a Pablc lvierest

“other thest Drival!
and

       

ssions’ party-plainsiif tigation serves a pulilic :
i ation a Sen

 
     
 
   
 

  
  
 

   

gardloss 6 of the cuicome
the publi rally 46 be fire
eel above

Mierest, Re
ohne the tights art

   
     

AD

         

 

wilt

  
    
 
 

mS wre

Src cs e}

  

araiory fadarments
HGH ions Hrougbout

.

that

    
  

 

SFFA-Harvard 0000043
Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 38 of 45

oadadivee YF
ais for Made Adudasi
7. 2HRUS TE

  
    
 

SY ies

Aliorney Names:

 

  

Lay Pinna: Wiley B
776 1 Street NW
Washington, Ds 20006

 

Fisher, a director an Treasurer, are
aris the faiher of Ms. Fasher.

 
 

 

  

a “through a fomiyn re Jetionship, Mir Fis)

ne

related 1 1h OE

 

OUALTFECA TIONS, AVERAG! HOURS WORKED, AND DITPTES
OF OFFICERS AND DIRECTORS

Rshyvard Winwa, Prozident

  

Exhvard Blut serves as a vohundeer director 3 for Fair
Acusstons, Ag] resident, = eta funetio AS BS the chief oxecitive officer, supervising the
for Pair Admissions ae that Mia, Ein
a his caties.

   
 
  
 
  

r, DB hum is a icading scholar of civil
on, and gue : caltaral x

   

SFFA-Harvard 0000044
Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 39 of 45

  
 

Foret 13
dade sats Loy §

 

 

 

nile “shee S x Cnancio! abalys is fee @ Portune 100 com

 

   

is for Pair
DOH nent of the
i zation. | Students { for Baie Acieiesinns estimate $ s that Ir, Sisher wil} spond fess thais five

week fulfllliug his duties

 

     

pe Oy business

 

Me, Fisher is a Certified Public Accountant. He bol
administration from the University of

sa bachelor’s deg

 

gORK aS,

Part V. Line $f)

CONFLICT OF INTEREST POLECY

int of interest policy an
i onabmecting, A

 
 
 

 

Bart Vil, Line dist

PUN DRAISINGS PRINS RAMS

       

2PSGMGE SOUL

SFFA-Harvard 0000045
Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 40 of 45

 

       
 
   
 
 
 
 
  
 

aa sone cuey

   

PAG ond fe
( iioning froma beh gran) A OFF
supporting sramaizaion, to em
Bain dd Bhan, who serve
Adtissiona, also serves
Advoissio intial fi x]
SOMLIE 1 the

 

 

 
 

   

 

  

Part is. Line 2

ANY EXPENSE NOT OTUHER WISE CLASSIFIED

 

 

$20,000 !

 

 

SFFA-Harvard 0000046
Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 41 of 45

   
 

Paha ©

y Adpissigns, das

 

     

WEEMS Y POLECY

ea:

(attached

SFFA-Harvard 0000047
Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 42 of 45

  

   

  
  
 
  

ion OF mg

SS

 

tile yh

Ai

 

ry director, principal officer, or member of a corn
8. who hag a direet or Fadivec

 

    

hh Winancial Inderost — A por:
, (Brough bu:

has, directly oF

 

 

re, Ne

  
 
 

; A compen
mdividual with

‘HOTatON or With any o

28 EPS Tian ON aTTAr POEL My

    

  

SFFA-Harvard 0000048
Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 43 of 45

 

          
   

   

   
   
 
 

    

        

   

 

   

 

 

 

 

     

      
  

 
 
  
 
  
  
 
    

    

 

 
  
 

    

  

    

eantlict of interest is discus carl vat
commnliice members shall deckle a ceanihial wal in iene
c Procedures for Addyassing the Conllict of lateres!

lb Aw interested person aigy make a preserlath ae
cotmmitiee etih Board of Drrectors-deleye
the presentation, he/she shall leave the eet sion Of,
and the vote on, the transaction or arrange soseible
conflict of inte

Bn ‘The President of the Corporation or chairperson of the committee with
Board of Prrectors-elelegaied powers shall. Uf aporopr appoint a
disivterested person or conumitice fo tuvestigaic alternatives to the
proposed fansacion or arrangement,

ay Atier exercising dus diligence, ihe Board of Turectors or commmitlee with
Board of Directors-delcgated powers shall detem
Corporation can obtain with reasonable efforts a
transaction or arrangement fron a person or entity hat
fo a conflict of interest.

a, if a more advantageous transaction or

sible under circumstances not pr
Boar of Ddrectors or conumitice vith Aes
powers shail determine by a majority vote of the
whether the iensaction or arrangement is in
“Sb, a - own poet and whe Ey

Sas

SFFA-Harvard 0000049
Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 44 of 45

 

.
Adfepeee

 
 
 
        

with Hoard af TA

 

 

3g
mict oF interest, tie

her a contiict «

WISE WEE

 

   

of the

*
4

i ision

   

    
  

aS
as V3

 

B. Phe sares of the persons who were pres sent for discussions and voies relating to
I in OF art i of the chawuasion {inchiding aie
sg ihe prey § ecpentl, and a record of any val

faker in connection with the proceedings.

 
     

Yi Compensatiens

  
 
  
  

or indirectly, from the

director who receiv: i
“via on matters pertaining & that

rporation for services is

A.

 
 

i. of Directs ors-dalegated powers
v8 so mup recelves

wie

    
   
 
 
 
  
     

indirecth seS 38

mations pord

os

Beard of Threclars-
flees and whe
Corporation, either

rimation to ary such

   

SFFA-Harvard 0000050
atl

Case 1:14-cv-14176-ADB Document 205-8 Filed 10/21/16 Page 45 of 45

 

  
      

ERNE

  

su
fica

pany

    

me a

    

      
 

and services, further
s ot a ha acctaese

ign.

nable inve
and educ atigual pai uy
lnperirissible prrve

 

 

VU Use af Uhataide isperis

When conducting the periodic reviews purenant to Section Vii the Corporation may, bul
need not use cniside advisors. If outside experis are used, their ase shall not t
Board of [Mrectors af its responsibility for ensuring pociodis: reviews are conducted.

    
 

 

      
 

 

Haye

      

SFFA-Harvard 0000051
